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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

VINCE ROWE, Derivatively On Behalf of THE ) Case No. 04-cv-4576 JRT-FLN
ST. PAUL TRAVELERS COMPANIES, INC., )
f/n/a THE ST. PAUL COMPANIES, INC.,       ) Judge John R. Tunheim
                                          )
                             Plaintiff,   )
                                          ) Magistrate Judge Franklin L. Noel
        vs.                               )
                                          )
JAY S. FISHMAN, ROBERT I. LIPP,           )
HOWARD P. BERKOWITZ, KENNETH J.           )
BIALKIN, CAROLYN HOGAN BYRD, JOHN )
H. DASBURG, LESLIE B. DISHAROON,          )
JANET M. DOLAN, KENNETH M.                )
DUBERSTEIN, LAWRENCE G. GRAEV,            )
MERYL D. HARTZBAND, THOMAS R.             )
HODGSON, WILLIAM H. KLING, JAMES A. )
LAWRENCE, BLYTHE J. MCGARVIE,             )
GLEN D. NELSON, M.D., CLARENCE OTIS, )
JR., JEFFREY M. PEEK, NANCY A.            )
ROSEMAN, CHARLES W. SCHARF,               )
GORDON M. SPRENGER, FRANK J. TASCO )
and LAURIE J. THOMSEN,                    )
                                          )
                             Defendants,  )
                                          )
        - and -                           )
                                          )
THE ST. PAUL TRAVELERS COMPANIES, )
INC., f/n/a THE ST. PAUL COMPANIES,       )
INC., a Minnesota corporation,            )
                                          )
                Nominal Defendant.        )
______________________________________ )
_



[Caption continued on following page.]
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MARILYN CLARK, Derivatively On Behalf of ) Case No. 04-cv-4826 JRT-FLN
THE ST. PAUL TRAVELERS COMPANIES, )
INC., f/n/a THE ST. PAUL COMPANIES,      ) Judge John R. Tunheim
INC.,                                    )
                                         ) Magistrate Judge Franklin L. Noel
                             Plaintiff,  )
                                         )
        vs.                              )
                                         )
JAY S. FISHMAN, ROBERT I. LIPP,          )
HOWARD P. BERKOWITZ, KENNETH J.          )
BIALKIN, CAROLYN HOGAN BYRD, JOHN )
H. DASBURG, LESLIE B. DISHAROON,         )
JANET M. DOLAN, KENNETH M.               )
DUBERSTEIN, LAWRENCE G. GRAEV,           )
MERYL D. HARTZBAND, THOMAS R.            )
HODGSON, WILLIAM H. KLING, JAMES A. )
LAWRENCE, BLYTHE J. MCGARVIE,            )
GLEN D. NELSON, M.D., CLARENCE OTIS, )
JR., JEFFREY M. PEEK, NANCY A.           )
ROSEMAN, CHARLES W. SCHARF,              )
GORDON M. SPRENGER, FRANK J. TASCO )
and LAURIE J. THOMSEN,                   )
                                         )
                             Defendants, )
                                         )
        - and -                          )
                                         )
THE ST. PAUL TRAVELERS COMPANIES, )
INC., f/n/a THE ST. PAUL COMPANIES,      )
INC., a Minnesota corporation,           )
                                         )
                Nominal Defendant.       )



    ORDER CONSOLIDATING ACTIONS, APPOINTING LEAD COUNSEL, AND
                       RELATED MATTERS



       Pursuant to the Stipulation Consolidating Actions, Appointing Lead Counsel, and Related

Matters (“Stipulation”) dated January 7, 2005, and for good cause appearing therefore, the Court

finds and orders that:

       1.      There are presently two related shareholder derivative actions against certain of

the officers and directors of St. Paul Travelers Companies, Inc. (“St. Paul Travelers”) on file in

this Court.
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       2.      In an effort to assure consistent rulings and decisions and the avoidance of

unnecessary duplication of effort, all of the counsel for parties in the related St. Paul Travelers

shareholder derivative actions currently on file in this Court entered into the Stipulation. The

counsel are: (1) Robbins Umeda & Fink, LLP and The Spence Law Firm on behalf of plaintiff

Vince Rowe; (2) Lerach Coughlin Stoia Geller Rudman & Robbins, LLP, Reinhardt Wendorf &

Blanchfield and Barrett, Johnston & Parsley on behalf of plaintiff Marilyn Clark; and (3) Dorsey

& Whitney, LLP on behalf of defendants Jay S. Fishman, Robert I. Lipp, Howard P. Berkowitz,

Kenneth J. Bialkin, Carolyn Hogan Byrd, John H. Dasburg, Leslie B. Disharoon, Janet M.

Dolan, Kenneth M. Duberstein, Lawrence G. Graev, Meryl D. Hartzband, Thomas R. Hodgson,

William H. Kling, James A. Lawrence, Blythe J. McGarvie, Glen D. Nelson, M.D., Clarence

Otis, Jr., Jeffrey M. Peek, Nancy A. Roseman, Charles W. Scharf, Gordon M. Sprenger, Frank J.

Tasco and Laurie J. Thomsen and nominal defendant St. Paul Travelers.

       3.      The following actions are hereby related and consolidated for pre-trial

proceedings:

       Abbreviated Case Name                 Case Number                    Date Filed

       Rowe v. Fishman, et al.               04-cv-4576 JRT-FLN             October 25, 2004

       Clark v. Fishman, et al.              04-cv-4826 JRT-FLN             November 19, 2004

       4.      Every pleading filed in these consolidated actions, or in any separate action

included herein, shall bear the following caption:




                                                 2
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
VINCE ROWE, et al.                      ) Lead Case No. 04-cv-4576 JRT-FLN
                                        )
                   Plaintiff            ) Judge John R. Tunheim
                                        )
        vs.                             )
                                        ) Magistrate Judge Franklin L. Noel
JAY S. FISHMAN, et al.                  )
                                        )
                   Defendants           )
                                        )
        - and -                         )
                                        )
THE ST. PAUL TRAVELERS COMPANIES, )
INC. a Minnesota Company,               )
                                        )
                   Nominal Defendant    )
_______________________________________ )


       5.       The files of these consolidated actions shall be maintained in one file under Lead

Case No. 04-cv-4576 JRT-FLN.

       6.       The Rowe v. Fishman, et al. action shall be designated the lead case, all higher

numbered filings will be under its caption. Plaintiffs shall file a Consolidated Derivative

Complaint (“Complaint”) no later than 90 days from the date of entry of this Order, unless

otherwise agreed between the parties and approved by the Court, which shall be deemed the

operative complaint, superceding all complaints filed in any of the actions consolidated

hereunder. Defendants shall have 60 days after the filing and service of the Complaint to file a

responsive pleading. In the event that defendants file and serve any motions directed at the

Complaint, plaintiffs shall file and serve their opposition within 45 days after the service of

defendants' motion. If defendants file and serve a reply to plaintiffs’ opposition, they will do so

within 30 days after plaintiffs' service of the opposition. Counsel agree to confer to select a

hearing date.

       7.       The Lead Counsel for plaintiffs for the conduct of these consolidated actions is:


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                                ROBBINS UMEDA & FINK, LLP
                                       JEFFREY P. FINK
                                 610 West Ash Street, Suite 1800
                                     San Diego, CA 92101
                                   Telephone: 619/525-3990
                                    Facsimile: 619/525-3991

        8.       Plaintiffs’ Lead Counsel shall have authority to speak for plaintiffs in matters

regarding pre-trial procedure, trial and settlement negotiations and shall make all work

assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation

and to avoid duplicative or unproductive effort.

        9.       Plaintiffs’ Lead Counsel shall be responsible for coordinating all activities and

appearances on behalf of plaintiffs and for the dissemination of notices and orders of this Court.

        10.      The Co-Liaison Counsel for plaintiffs for the conduct of these consolidated

actions is:

                                    THE SPENCE LAW FIRM
                                      RUSSELL M. SPENCE
                                  10 South Fifth Street, Suite 300
                                     Minneapolis, MN 55402
                                     Telephone: 612/375-1555
                                     Facsimile: 612/375-1511
                           REINHARDT WENDORF & BLANCHFIELD
                               GARRETT D. BLANCHFIELD, JR
                                    FRANCES E. BAILLON
                               E-1250 First National Bank Building
                                      332 Minnesota Street
                                       St. Paul, MN 55101
                                    Telephone: 651/287-2100
                                    Facsimile: 651/287-2103

        11.      Plaintiffs’ Co-Liaison Counsel shall be available and responsible for

communications by plaintiffs to and from this Court, including distributing orders and other

directions from the Court to plaintiffs’ counsel.       Plaintiffs’ Co-Liaison Counsel shall be

responsible for creating and maintaining a master service list of all parties and their respective

counsel.      Service upon plaintiffs’ Co-Liaison Counsel is sufficient for purposes of serving

plaintiffs under Rule 5 of the Federal Rules of Civil Procedure.


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            12.         Defendants' counsel may rely upon all agreements made with plaintiffs' Lead

Counsel, or other duly authorized representative of plaintiffs' Lead Counsel, including plaintiffs’

Co-Liaison Counsel, and such agreements shall be binding on plaintiffs.

            13.         This Order shall apply to each case, arising out of the same or substantially the

same transactions or events as these cases, which is subsequently filed in, removed to or

transferred to this Court.

            14.         When a case which properly belongs as part of the Rowe v. Fishman, et al., Lead

Case No. 04-cv-4576 JRT-FLN, is hereafter filed in the Court or transferred here from another

court, this Court requests the assistance of counsel in calling to the attention of the clerk of the

Court the filing or transfer of any case which might properly be consolidated as part of the Rowe

v. Fishman, et al., Lead Case No. 04-cv-4576 JRT-FLN, and counsel are to assist in assuring that

counsel in subsequent actions receive notice of this Order.

            IT IS SO ORDERED.

Dated: January 10, 2005                                              s/John R. Tunheim
                                                                     The Honorable John R. Tunheim
                                                                     United States District Court Judge




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